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                                                                            FILED IN THE
                                                                        U.S. DISTRICT COURT
                                                                  EASTERN DISTRICT OF WASHINGTON



                                                                  May 25, 2021
                                                                       SEAN F. MCAVOY, CLERK




 May 19, 2021, 9:51 pm




                      5/19/2021                                       5/19/2021
       Richland, WA
                                              Arrested within the E/WA
5/19/2021                                          FBI
                                              BY:_______________________
                                                      (Agency)
                                                             5/19/2021
                                              Executed On:_______________
                                                    Reagan K. Havey, USMS
                                              Sign:______________________
